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                                 IN THE UNITED STATES DISTRICT COURT
                                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                                    )
                                                             )                8:15CR303
                          Plaintiff,                         )
                                                             )
        vs.                                                  )                 ORDER
                                                             )
DONALD HANDY,                                                )
                                                             )
                          Defendant.                         )


        This matter is before the court on the motion for an extension of time by defendant Donald Handy
(Handy) (Filing No. 26). Handy seeks an additional ten days in which to file pretrial motions in accordance with
the progression order. Handy's counsel represents that Handy will file an affidavit wherein he consents to the
motion and acknowledges he understands the additional time may be excludable time for the purposes of the
Speedy Trial Act. Upon consideration, the motion will be granted


        IT IS ORDERED:

        Defendant Handy's motion for an extension of time (Filing No. 26) is granted. Handy is given until on

or before November 6, 2015, in which to file pretrial motions pursuant to the progression order. The ends of
justice have been served by granting such motion and outweigh the interests of the public and the defendant
in a speedy trial. The additional time arising as a result of the granting of the motion, i.e., the time between

October 23, 2015, and November 6, 2015, shall be deemed excludable time in any computation of time under
the requirement of the Speedy Trial Act for the reason defendant's counsel requires additional time to adequately
prepare the case, taking into consideration due diligence of counsel, and the novelty and complexity of this case.
The failure to grant additional time might result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).


        DATED this 23rd day of October, 2015.
                                                             BY THE COURT:
                                                             s/ Thomas D. Thalken
                                                             United States Magistrate Judge
